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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
                                   www.flmb.uscourts.gov

 In re:

 LOUIS ALAN MAIER,                                           Chapter 7
                                                             Case No.: 9:19-bk-05580-FMD
                          Debtor.

 ________________________________________/


 DEBTOR'S RESPONSE TO THE TRUSTEE’S OBJECTION TO CLAIM OF EXEMPTIONS

          COMES NOW the Debtor, by and through undersigned counsel, and responds to the

Trustee’s amended objection to claim of exemptions, [Doc. No. 35] (the “Objection”). In

response, the Debtor asserts that:

          1.     The exemptions are properly claimed.

Applicable Exemptions
       2.    As to the which exemptions apply, the Debtor established domicile in Florida in

2008 when he purchased his home. Domicile is a difference concept from where someone resides.

The trustee is confusing the two. While the Debtor did reside in New York for a majority of the

time during the past two years, the § 522 expressly refers to the Debtor’s domicile. Domicile is

not synonymous with residence, and instead requires a physical presence in the location and an

intent to remain there:

                 But domicile and residence are not necessarily synonymous,
                 Mississippi Choctaw v. Holyfield, 109 S. Ct. 1597 (1989), for
                 domicile is the combination of physical presence in a place
                 (residence) and a certain state of mind, that is, the intent to remain
                 there. The requisite intention element requires that the individual
                 intends to remain at that place for an unlimited or indefinite period
                 of time. Residence and intent are inextricable elements of domicile.




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               If unaccompanied by the necessary intent, residence alone is not
               determinative of citizenship.

Siegworth v. Sun City Stables, 2010 WL 11627536 (M.D. Fla. Feb. 2, 2010).

       The Debtor was present in Florida in and after 2008 and purchased the home in Cape

Coral with the intent for it to be his home so that he could retire here. Thus, the elements of

domicile in Florida were satisfied in 2008, well before the 730-day period before the filing of the

instant bankruptcy case.

11 U.S.C. § 522(p)(1)
       3.     As to the trustee’s alternative objection under § 522(p)(1), the Debtor did not

acquire an interest that exceeds $160,375.00 (as adjusted from $155,675) in his homestead.

Rather, the property was re-conveyed to him for only $120,000. Section 522(p)(1) makes no

reference to “fair market value”, instead states that “a debtor may not exempt any amount of

interest that was acquired by the debtor during the 1215-day period.”

       Alternatively, the initial conveyance to the Debtor’s daughter was to allow him to acquire

funds to satisfy an equity line on a property that was being listed for sale. His daughter loaned

him the money but, due to his daughter’s requirement for security on the loan and uncertainties

with an upcoming braid surgery on the Debtor, the property was conveyed to his daughter with the

understanding that the property was still the Debtors’ and only transferred to provide collateral on

the loan. Upon determining what was necessary to secure the property the correct way (i.e., a

mortgage), the Debtor’s daughter re-conveyed the property to the Debtor in exchange for a

mortgage. Thus, the Debtor never truly lost his interest as he maintained an equitable interest in

the property the entire time. Alternatively, the only interest that the Debtor parted with was the

amount of the loan by his daughter, which is why she re-conveyed it to him for a mortgage in the

same amount, making § 522(p)(2)(B) applicable.



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Annuity
      4.          As to the annuity, the Debtor denies the trustee’s assertions as to the Debtor’s intent

in funding the annuity.

Tenancy by the Entirety
      5.     As to the claim of tenancy by the entirety, the Debtor denies the trustee’s assertion.

Further, the trustee cannot challenge the application of the entireties exemption without bringing

an adversary proceeding against Debtor’s spouse as she has an interest in the property.

           If there are creditors who file valid, timely claims for a debt that is owed by both spouses,

the exemption of tenancy by the entirety would not apply to those claims and any tenancy by the

entirety assets administered should be limited to pay those claims only, with any surplus being

returned to the spouses. However, the Debtor asserts that there are no such joint debts.

           Alternatively, if tenancy by the entirety is found not to apply, then the Debtor asserts that

his interest in the property must be divided in half.

           WHEREFORE the Debtor respectfully requests that the Court enter an order overruling

the Objection; and granting such other and further relief as the Court deems appropriate.

                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served upon all

persons receiving electronic notice via the Court’s CM/ECF system in this case; and by U.S.

first class mail to Louis A. Maier, 4315 SW 25th Place, Cape Coral, FL 33914, on August 5, 2019.

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